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 8                                 UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                       SAN JOSE DIVISION

11
12   IN RE: APPLE INC. DEVICE                     Case No.: 5:18-md-02827-EJD
     PERFORMANCE LITIGATION
13                                                [PROPOSED] JUDGMENT
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     This Document Relates to:
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     ALL ACTIONS
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                                                                     Case No. 5:18-md-02827-EJD
                                        [PROPOSED] JUDGMENT
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 1            On February 17, 2023, the Court signed and entered its Order Granting Renewed Motion for

 2   Final Approval of Class Action Settlement; Granting Renewed Motion for Attorneys’ Fees and

 3   Expenses, and Service Awards (Dkt No. 653, the “Final Approval Order”) in the above-captioned

 4   matter as to the following class of persons:

 5            All former or current U.S. owners of iPhone 6, 6 Plus, 6s, 6s Plus, 7, 7 Plus, and SE
              devices running iOS 10.2.1 or later (for iPhone 6, 6 Plus, 6s, 6s Plus, and SE devices)
 6            or iOS 11.2 or later (for iPhone 7 and 7 Plus devices), and who ran these iOS versions
              before December 21, 2017.
 7
 8   JUDGMENT IS HEREBY ENTERED, pursuant to Federal Rule of Civil Procedure 58, as to the

 9   specified class of persons (excluding the individuals who validly and timely requested exclusion from

10   the Settlement Class, as identified in Exhibit A hereto), the Named Plaintiffs, and Defendant Apple

11   Inc. on the terms and conditions of the Settlement Agreement approved by the Court’s Final Approval

12   Order.

13            1.     For purposes of this Order, the Court adopts the terms and definitions set forth in the

14   Settlement Agreement.

15            2.     Payments to Settlement Class Members under the Settlement Agreement shall be made

16   as outlined in the Final Approval Order and Settlement Agreement.

17            3.     As of the Effective Date, the Settlement Class Members and their respective heirs,

18   executors, administrators, representatives, agents, partners, successors, and assigns shall have fully,

19   finally, and forever released, relinquished, and discharged any and all past, present, and future claims,

20   actions, demands, causes of action, suits, debts, obligations, damages, rights and liabilities, that were

21   brought, could have been brought, or are related to the same facts underlying the claims asserted in the

22   Actions regarding the iPhone devices at issue, known or unknown, recognized now or hereafter,

23   existing or preexisting, expected or unexpected, pursuant to any theory of recovery (including, but not

24   limited to, those based in contract or tort, common law or equity, federal, state, territorial, or local law,

25   statute, ordinance, or regulation), against the Released Parties, for any type of relief that can be released

26   as a matter of law, including, without limitation, claims for monetary relief, damages (whether

27   compensatory, consequential, punitive, exemplary, liquidated, and/or statutory), costs, penalties,

28   interest, attorneys’ fees, litigation costs, restitution, or equitable relief. Accordingly, the Settlement


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 1   shall terminate the MDL Action. Notwithstanding the foregoing, the release shall not include any

 2   claims relating to the continued enforcement of the Settlement or the Protective Orders.

 3           4.      As of the Effective Date, the Named Plaintiffs (including the non-U.S. Named

 4   Plaintiffs) and their respective heirs, executors, administrators, representatives, agents, partners,

 5   successors, and assigns shall have fully, finally, and forever released, relinquished, and discharged any

 6   and all past, present, and future claims, actions, demands, causes of action, suits, debts, obligations,

 7   damages, rights and liabilities, that were brought, could have been brought, or are related to the same

 8   facts underlying the claims asserted in the Actions regarding the iPhone devices at issue, known or

 9   unknown, recognized now or hereafter, existing or preexisting, expected or unexpected, pursuant to

10   any theory of recovery (including, but not limited to, those based in contract or tort, common law or

11   equity, federal, state, territorial, or local law, statute, ordinance, or regulation), against the Released

12   Parties, for any type of relief that can be released as a matter of law, including, without limitation,

13   claims for monetary relief, damages (whether compensatory, consequential, punitive, exemplary,

14   liquidated, and/or statutory), costs, penalties, interest, attorneys’ fees, litigation costs, restitution, or

15   equitable relief. Class Counsel and non-U.S. Named Plaintiffs hereby represent and warrant that the

16   non-U.S. Named Plaintiffs have the capacity to execute such a release under the applicable laws of

17   their respective jurisdictions. Notwithstanding the foregoing, the release shall not include any claims

18   relating to the continued enforcement of the Settlement or the Protective Orders.

19           5.      As of the Effective Date, Apple shall have fully, finally, and forever released,

20   relinquished, and discharged all claims of abuse of process, malicious prosecution, violations of

21   Federal Rule of Civil Procedure 11, and any other claims arising out of the initiation or prosecution of

22   the MDL Action that are known to Apple as of the Effective Date, against the Named Plaintiffs, Class

23   Counsel, and Plaintiffs’ Executive Committee and Plaintiffs’ Steering Committee pursuant to the

24   Order Consolidating Related Actions and Appointing Interim Co-Lead Plaintiffs’ Counsel and

25   Executive and Steering Committees (Dkt. 100). Notwithstanding the foregoing, this release shall not

26   include any future claims relating to the continued enforcement of the Settlement, the Protective

27   Orders, and all orders construing the Stipulated Protective Order, including but not limited to Dkt. 350.

28   This release does not constitute a general release.


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 1          6.      As of the Effective Date, the Settlement Class Members and the Named Plaintiffs shall

 2   have fully, finally, and forever released, relinquished, and discharged all claims of abuse of process,

 3   malicious prosecution, violations of Federal Rule of Civil Procedure 11, and any other claims arising

 4   out of the defense of the MDL Action that are known to the Settlement Class Members and/or the

 5   Named Plaintiffs as of the Effective Date, against Apple’s attorneys, legal representatives, and

 6   advisors, including Defense Counsel. Notwithstanding the foregoing, this release shall not include any

 7   future claims relating to the continued enforcement of the Settlement, the Protective Orders, and all

 8   orders construing the Stipulated Protective Order, including but not limited to Dkt. 350. This release

 9   does not constitute a general release.

10          7.      The MDL Action, including all actions consolidated into the MDL Action and all claims

11   asserted in the actions, are settled and dismissed on the merits with prejudice (with the exception of

12   the claims asserted in Corporación Nacional de Consumidores y Usuarios De Chile v. Apple, Inc.,

13   Case No. 5:18-cv-02527-EJD, which has been administratively closed pending the parties’ request for

14   dismissal with prejudice in that action).

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16   JUDGMENT APPROVED AS TO FORM:

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18                                                HON. EDWARD J. DAVILA
                                                  United States District Court
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20   JUDGMENT ENTERED:              March 2, 2023

21   By: CLERK OF THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT
     OF CALIFORNIA
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